                                           Case 4:22-cv-02442-JST Document 22 Filed 05/31/22 Page 1 of 3




                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          Justin Walker                     ,           Case No. 4:22-cv-02442-JST
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                   v.                                       ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          Meta Platforms, Inc.              ,
                                                        Defendant(s).
                                   8
                                   9

                                  10           I, Gary M. Klinger             , an active member in good standing of the bar of

                                  11    Illinois                              , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: the Plaintiff and the Class       in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Todd D. Carpenter                , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     234464
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16
                                       227 W. Monroe Street, Suite 2100,Chicago,            1350 Columbia Street, Suite 603, San Diego,
                                  17   IL
                                        MY60606
                                           ADDRESS OF RECORD
                                                                                            CA  92101
                                                                                             LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (866) 252-0878                                       (619) 762-1910
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       gklinger@milberg.com                                 todd@lcllp.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 6303726             .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   3
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                            Case 4:22-cv-02442-JST Document 22 Filed 05/31/22 Page 2 of 3




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 5/31/2022
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                            FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of                                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                       Dated:       5/31/2022
                                  15

                                  16
                                  17
                                                                                  UNITED STATES DISTRICT JUDGE
                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                       Updated 11/2021                                   2
Case 4:22-cv-02442-JST Document 22 Filed 05/31/22 Page 3 of 3
